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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

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11    EDUARDO INCHAUSTEQUII,                CASE NO. EDCV 21-0036-CJC(AS)

12                      Petitioner,

13          v.
                                                        JUDGMENT
14    KINGS COUNTY,

15
                        Respondent.
16

17

18

19         Pursuant to the Order Accepting Findings, Conclusions and

20   Recommendations of United States Magistrate Judge,

21         IT IS ADJUDGED that the Petition is denied and dismissed
22   without prejudice.
23

24    DATED: April 22, 2021
25

26
                                              HON. CORMAC J. CARNEY
27
                                          UNITED STATES DISTRICT JUDGE
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Case 5:21-cv-00036-CJC-AS Document 10 Filed 04/22/21 Page 2 of 2 Page ID #:88



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